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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO



 TROY STACY ENTERPRISES INC.,
 individually and on behalf of all others           Judge: Matthew W. McFarland
 similarly situated,

                              Plaintiff,            Civil Action No. 1:20-cv-00312

            v.

 THE CINCINNATI INSURANCE
 COMPANY,

                              Defendant.


                PLAINTIFF’S MOTION FOR APPOINTMENT
   OF INTERIM CO-LEAD CLASS COUNSEL PURSUANT TO FED R. CIV. P. 23(g)

       Pursuant to Federal Rule of Civil Procedure 23(g), Troy Stacy Enterprises Inc., the named

plaintiff in the above-captioned action, respectfully seeks the appointment of W. Mark Lanier of

The Lanier Law Firm, Adam J. Levitt of DiCello Levitt Gutzler LLC, and Timothy W. Burns of

Burns Bowen Bair LLP as Plaintiff’s Interim Co-Lead Class Counsel, as well as the other relief

set forth in the proposed Order. This Motion is based upon the Memorandum of Law in Support,

filed contemporaneously herewith.

Dated: October 15, 2020                         Respectfully submitted,

                                                /s/ Adam J. Levitt
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                                         Plaintiff’s Proposed Interim Class Counsel

                                         /s/ Kenneth P. Abbarno
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                                                    Additional Counsel for Plaintiff and the
                                                    Proposed Class

* Applications for admission pro hac vice to be filed


                                CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing was filed electronically using the Court’s

CM/ECF service, which will send notification of such filing to all counsel of record on this 15th

day of October 2020.

                                             /s/ Kenneth P. Abbarno
                                             Kenneth P. Abbarno
                                             DICELLO LEVITT GUTZLER LLC




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